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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-MJ-8332-BER


  IN RE: SEALED SEARCH WARRANT

  __________________________________________/

                                         ORDER

        The issue before the Court relates to the continued partial sealing of the

  affidavit in support of the search warrant for 1100 S. Ocean Drive, Palm Beach,

  Florida (“the Affidavit”).

        Media Intervenors ask this Court to “order the Government to reassess its

  position as to continued sealing of the Affidavit and file a report informing this Court

  of that position every thirty (30) days until either the Affidavit is unsealed entirely

  or the proceedings in United States v. Trump result in a final judgment, whichever is

  sooner.” ECF No. 162 at 2-3. They argue that the Government is in the unique

  position to be able to compare “the information currently redacted from the Affidavit

  with the information it provides [in discovery in the criminal case] and/or the

  information included in other public court filings.” Id. at 2.

        The Government responds that there is no need for the requested order. It first

  says it has shown its sensitivity to unsealing portions of the Affidavit as

  circumstances change. It next argues that it is speculative whether additional

  portions of the Affidavit will become subject to the public right of access during
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  pretrial proceedings in the related prosecution. Finally, it argues that requiring

  periodic filings would be unduly burdensome. ECF No. 170.

        I have considered the Motion, the Response, and the Reply, ECF No. 173. I am

  fully advised and this matter is ripe for decision.

        The public and the media have a qualified right of access to judicial proceedings

  that can be overcome by a showing of good cause. Chicago Tribune Co. v.

  Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310-12 (11th Cir. 2001); Nixon v. Warner

  Commc’ns, Inc., 435 U.S. 589, 597 (1978). Media intervenors focus on two categories

  of information that they assert may justify future modifications to the Affidavit’s

  redactions: discovery material in United States v. Trump, et. al., No. 23-cr-80101-

  AMC, and information contained in public filings in the Trump prosecution. Even

  assuming those categories contain information currently redacted from the Affidavit,

  there is no need to order the Government to file periodic reports.

        In a criminal case, materials the prosecution provides to the defense are not

  subject to the public right of access. See, e.g., United States v. Nickens, 809 F. App’x

  584, 591-92 (11th Cir. 2020) (discovery materials “do not fall within the scope of either

  the First Amendment or the common law right of access.”). Even if they were, the

  Court has entered a protective order in U.S. v. Trump under Federal Rule of Criminal

  Procedure 16(d)(1) that prohibits either side from publicly disclosing discovery

  materials without prior approval. ECF No. 27 ¶6 in Case No. 23-cr-80101-AMC.

  Implicit in the protective order was the Court’s finding that good cause existed for

  this limitation. See Fed. R. Crim. P. 16(d)(1) (“At any time the court may, for good

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  cause, deny, restrict, or defer discovery or inspection, or grant other appropriate

  relief.”).

          The Government is correct that it is speculative whether public filings will

  justify further unsealing. If public filings contain information that the Media

  Intervenors in good faith believe may be currently redacted from the Affidavit, they

  can move for further unsealing. The Government is also expected to notify the Court

  if the need for redaction ceases to exist because of public disclosures. And, the Court

  can, on its own, order further unsealing, after providing proper notice and

  opportunity to be heard.1 Because these viable alternatives exist, it is unnecessary

  and therefore unduly burdensome to require the Government to file periodic reports.

          For all these reasons, the Motion (ECF No. 162) is DENIED.

          DONE and ORDERED in Chambers this 14th day of August, 2023, at West

  Palm Beach in the Southern District of Florida.




                                          ____________________________________
                                          BRUCE E. REINHART
                                          UNITED STATES MAGISTRATE JUDGE




  1 The undersigned is also the assigned United States Magistrate Judge in United

  States v. Trump, et. al.
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